            Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 1 of 27



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NEW YORK


 CHRISTOPHER D’AMORE, individually and Civil Action No.
 on behalf a class of participants in the University
 of Rochester Retirement Program,                    CLASS ACTION COMPLAINT

              Plaintiff,

 vs.


 UNIVERSITY OF ROCHESTER,

              Defendant.



                                        INTRODUCTION

       1.       This action seeks to protect the retirement savings of more than 36,000 employees

of the University of Rochester (the “University” or “Defendant”) who are participants in the

University’s federally-regulated retirement plan—the University of Rochester Retirement

Program (the “Plan”). The University has a fiduciary duty to ensure that its Plan does not charge

excessive fees. But over the past six years, Plan participants have paid an estimated $72 million in

in recordkeeping, distribution, and mortality risk fees (sometimes collectively referred to herein as

“administrative fees”). The fees are close to ten times what they should be. The fees are grossly

excessive. And Plan participants will continue to pay grossly excessive fees unless this action

moves forward.

       2.       All retirement plans require administrative services. The University contracted

with TIAA to provide administrative services for its Plan. TIAA pockets the bulk of the excessive

fees. The reason why TIAA has been able to extract such grossly excessive fees is because TIAA’s

fees are tethered not to any actual services it provides to the Plan, but rather, to a percentage of



                                                -1-
             Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 2 of 27



assets in the Plan. As the assets in the Plan increase, so too increase the fees that TIAA pockets

from the Plan and its participants. One commentator likened this fee arrangement to hiring a

plumber to fix a leaky gasket, but paying the plumber not on actual work provided but based on

the amount of water that flows through the pipe.

        3.       This action is similar (but narrower in scope) to 18 separate lawsuits pending in

federal district courts around the country. 1 In each of these other lawsuits, like here, plaintiffs

allege a university defendant breached ERISA fiduciary duties by allowing TIAA to collect

excessive fees from the university’s retirement plan. It appears TIAA exploited its rich heritage of

being a non-profit low-cost financial service provider and duped universities into excessive fee

arrangements. But now university plan participants are fighting back and demanding TIAA reduce

its fees. It appears TIAA is willing to meaningfully reduce its fees if universities will just ask. By

way of example, shortly after the University of Chicago was sued, it announced to its plan

participants that it renegotiated TIAA’s fees, and successfully reduced fees on an annual basis by

several million dollars.

        4.       The ERISA fiduciary duty of prudence is among “the highest known to the law”

and requires fiduciaries to have “an eye single to the interests of the participants and beneficiaries.”

Donovan v. Bierwirth, 680 F.2d 263, 271, 272 n.8 (2d Cir. 1982). As a fiduciary to the plan, the




1
  See Sweda v. Univ. of Pa., 2017 WL 4179752 (E.D. Pa. Sept. 21, 2017), appeal docketed, No. 17- 3244 (3d Cir. Oct.
13, 2017); Short v. Brown Univ., No. 17-cv-318 (D.R.I. filed July 6, 2017); Cates v. Trs. of Columbia Univ. in the
City of N.Y., No. 16-cv-6524 (S.D.N.Y. filed Aug. 28, 2016); Cunningham v. Cornell Univ., No. 16-cv-6525 (S.D.N.Y.
filed Aug. 17, 2016); Clark v. Duke Univ., No. 16-cv-1044 (M.D.N.C. filed Aug. 10, 2016); Henderson v. Emory
Univ., No. 16-cv-2920 (N.D. Ga. filed Aug. 11, 2016); Stanley v. George Washington Univ., No. 18-cv-878 (D.D.C.
filed Apr. 13, 2018); Kelly v. Johns Hopkins Univ., No. 16-cv-2835 (D. Md. filed Aug. 11, 2016); Divane v.
Northwestern Univ., No. 16-cv- 8157 (N.D. Ill. filed Aug. 17, 2016); Sacerdote v. N.Y. Univ., No. 16-cv-6284
(S.D.N.Y. filed Aug. 9, 2016); Nicolas v. Trs. of Princeton Univ., No. 17-cv-3695 (D.N.J. filed May 23, 2017);
Daugherty v. Univ. of Chi., No. 17-cv-3736 (N.D. Ill. filed May 18, 2017); Munro v. Univ. of S. Cal., No. 16-cv-6191
(S.D. Cal. filed Aug. 17, 2016); Cassell v. Vanderbilt Univ., No. 16-cv-2086 (M.D. Tenn. filed Aug. 10, 2016); Davis
v. Wash. Univ. in St. Louis, No. 17-cv-1641 (E.D. Mo. filed June 8, 2017); Vellali v. Yale Univ., No. 16-cv-1345 (D.
Conn. filed Aug. 9, 2016); Wilcox v. Georgetown Univ., 18-cv-00422 (D.C.C. filed Feb. 23, 2018).


                                                       -2-
             Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 3 of 27



University is obligated to act for the exclusive benefit of the Plan and its participants, and to ensure

that the Plan’s expenses are reasonable.

        5.       The marketplace for retirement plan administrative services is established and

competitive, and because the Plan here has more than $4.2 billion in assets, the Plan has

tremendous bargaining power to demand low-cost high-quality administrative services.

        6.       But instead of leveraging the Plan’s tremendous bargaining power to benefit Plan

participants, the University has failed to adequately take proper measures to understand the real

cost to Plan participants for TIAA’s services, to properly inform participants of the fees they were

paying to TIAA as required by law, and most importantly, to act prudently with such information.

As a result, Plan participants pay excessive fees for TIAA’s services.

        7.       Christopher D’Amore (“Plaintiff”), was hit especially hard. It appears he has been

paying more than $500 per year to TIAA in service fees when a reasonable fee for administrative

services is no more than $50 per year. There is absolutely no legitimate basis why Plaintiff should

be paying TIAA more than $500 per year for its services.

       8.        Plaintiff, individually and as a representative of participants in the Plan, bring this

action on behalf of the Plan under 29 U.S.C. §1132(a)(2) and (3) to enforce liability under 29

U.S.C. §1109(a) and to restore to the Plan all losses resulting from each breach of fiduciary duty.

                                  JURISDICTION AND VENUE

       9.        This Court has exclusive jurisdiction over the subject matter of this action under 29

U.S.C. §1132(e)(1) and 28 U.S.C. §1331, because it is an action under 29 U.S.C. §1132(a)(2) and

(3).

       10.       This district is the proper venue for this action under 29 U.S.C. §1132(e)(2) and 28

U.S.C. §1391(b), because it is the district in which the plan is administered, where the alleged




                                                  -3-
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 4 of 27



breaches took place and where the University resides.

                                           THE PLAN

      11.      The University of Rochester Retirement Program is a defined contribution benefit

plan under 29 U.S.C. §1002(2)(A) and §1002(34).

      12.      The Plan is established and maintained under a written document in accordance

with 29 U.S.C. §1102(a)(1).

      13.      The Plan is organized under section 403(b) of the Internal Revenue Code. A 403(b)

plan is a tax-deferred retirement plan, and is virtually identical to a 401(k) plan. Plans offered by

corporate employers that allow participants to defer part of their compensation by contributing to

the plan are commonly referred to as 401(k) plans. Tax-exempt organizations, public schools

(including universities), and churches are eligible to offer plans qualified under 403(b), commonly

known as 403(b) plans. 26 U.S.C. §403(b)(1)(A). The law allows tax-exempt organizations to be

exempt from certain administrative processes that apply to 401(k) plans. In other words,

administrative costs for 403(b) plans are typically lower than for 401(k) plans. This allows

organizations with very small budgets to help their employees save for retirement.

      14.      403(b) plans are subject to ERISA and its fiduciary requirements, unless the plan

satisfies a safe harbor regulation based on the employer having limited involvement in operating

the plan. Here, the Plan does not qualify for the safe harbor and is, thus, subject to ERISA because

the University is actively involved in operating the Plan. The annual tax return for the Plan filed

on Form 5500 explicitly acknowledges that the Plan is subject to ERISA.

      15.      All University employees except students whose employment is incidental to their

education at the University are eligible to participate in the Plan. Participants in the Plan have

individual accounts. The Plan allows employees to set aside pre-tax dollars out of paychecks to




                                                -4-
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 5 of 27



save for retirement – up to $18,000 per year and $24,000 for those age 50 or older. The University

provides direct contributions related to the base salary of certain employees who qualify.

      16.      The Plan has over $4.2 billion of assets under management. Retirement plans are

generally classified as “micro” plans when they have $5 million or less in assets under

management, “small” plans when they have between $5 and $50 million in assets, “mid” plans

when they have between $50 and $200 million, “large” plans when they have between $200 million

and $1 billion, and “mega” or “jumbo” plans when they have over $1 billion in assets. With more

than $4.2 billion in assets, the Plan easily qualifies as a “mega” or “jumbo” plan. The Plan is in

the largest 0.1% of all retirement plans in the United States. The Plan had more than 36,118

participants with account balances as of the period ending June 30, 2016.

                                        THE PARTIES

      17.      Plaintiff Christopher D’Amore is a citizen of New York. He is a participant in the

Plan as defined in 29 U.S.C. §1002(7). Plaintiff was a participant in the Plan from November 1996

to January 2017– for nearly twenty-one years. He has a substantial portion of his life savings in

his Plan account.

      18.      Plaintiff was employed by the University in the University IT department. From

November 1996 to July 1999, he was employed as a Computer Operator, Senior Computer

Operator, and Lead Computer Operator. From July 1999 to January 2006, he was employed as a

Software Specialist.     From January 2006 to January 2017, he was employed as an

Analyst/Programmer, Senior Analyst Programmer, and Lead PeopleSoft Systems Administrator.

      19.      An action under §1132(a)(2) allows recovery only for a plan, and does not provide

a remedy for individual injuries distinct from plan injuries. LaRue v. DeWolff, Boberg & Assocs.,

552 U.S. 248, 256 (2008). The plan is the victim of any fiduciary breach and the recipient of any




                                               -5-
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 6 of 27



recovery. Id. at 254. Section 1132(a)(2) authorizes any participant to sue derivatively as a

representative of the plan to seek relief on behalf of the plan. 29 U.S.C. §1132(a)(2). As explained

in detail below, the Plan suffered millions of dollars in losses caused by Defendant’s fiduciary

breaches, and it remains exposed to harm and continued losses, and those injuries may be redressed

by a judgment of this Court in favor of Plaintiff. To the extent the Plaintiff must also show an

individual injury even though §1132(a)(2) does not provide redress for individual injuries, Plaintiff

has suffered such an injury because he paid excessive administrative fees, which would not have

been incurred had Defendant discharged its fiduciary duties to the Plan. Specifically, during the

relevant time period, Plaintiff paid over $ 500 per year in administrative fees, when the reasonable

amount of such a fee is no more than $50 per year.

      20.      The University was founded in 1850. It is an independent nonprofit institution of

higher education, research, and healthcare. The University serves over 11,200 students in its

undergraduate and professional programs across its seven schools and over 200 academic units.

The University maintains its principal place of business in Rochester, New York.

      21.      The University is the sponsor and administrator of the Plan under 29 U.S.C.

§1002(16)(A)(i). The University has all discretionary power and authority necessary to administer

the Plan, including, but not limited to, the power and authority to interpret the provisions of the

Plan, select investments for the Plan menu, compute the amount and kind of benefits payable to

participants, hire Plan service providers, and direct the payment of plan expenses. Accordingly,

the University possesses exclusive and complete discretionary authority to control the operation,

management, and administration of the Plan.

      22.      The University is a fiduciary to the Plan because it exercises discretionary authority

or discretionary control respecting the management of the Plan, and exercises authority or control




                                                -6-
           Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 7 of 27



respecting the management or disposition of the Plan’s assets, and has discretionary authority or

discretionary responsibility in the administration of the Plan. See 29 U.S.C. §1002(21)(A)(i) and

(iii). The Board of Trustees of the University has appointed the Retirement Plan Committee to

administer the Plan on behalf of the University.

                                     BACKGROUND FACTS

      A.       403(b) Plan Fees

      23.      While everyone who participates in a 403(b) plan pays fees to the plan provider to

maintain their account, industry insiders report that over 70 percent of people do not believe they

pay any fees to their plan provider. In an effort to help the public obtain a better grasp on fees that

they pay in retirement plans, the Department of Labor finalized regulations in 2010 that require

plan administrators to disclose fee and expense information to plan participants. However, most

plan participants are still in the dark concerning the actual amount of fees they pay. The lack of

understanding is not surprising. Often fees are hidden from plain view. In many cases, plan

providers do not make the fee and expense disclosures that the Department of Labor requires.

      24.      By way of example, the quarterly account statements that the University provides

to its Plan participants do not disclose any administrative fees paid to TIAA by its participants. In

addition, the Plan’s annual Form 5500 Department of Labor disclosures are supposed to identify

the administrative fees paid to TIAA, but they do not clearly identify this information either. The

Plan’s Form 5500 identifies TIAA as receiving “indirect compensation” (which is how TIAA

collects its excessive fees from Plan participants as discussed herein) but states the amount TIAA

received is “0” or “”none.” That is false. TIAA’s indirect compensation should be clearly disclosed

in the Plan’s Form 5500s, but it is not. The University has a fiduciary responsibility as an ERISA

§ 404 fiduciary to ensure that the disclosures to participants are complete and accurate but utterly




                                                 -7-
           Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 8 of 27



failed in that duty.

         25.    A plan’s fiduciaries have control over plan fees. Fiduciaries are responsible for

hiring administrative service providers for the plan and for negotiating and approving the amount

of fees paid to those service providers. These fiduciary decisions have the potential to dramatically

affect the amount of money that participants are able to save for retirement. According to the U.S.

Department of Labor, a 1% difference in fees over the course of a 35 year career makes a difference

of 28% in savings at retirement. U.S. Dep’t of Labor, A Look at 401(k) Plan Fees, at 1–2 (Aug.

2013).

         26.    As reflected in the charts below, if a person placed $25,000 in a retirement account,

made no other contributions to the account for 35 years, averaged a 7% return for 35 years, and

paid .5% in fees, the account balance will grow to $227,000. But if the fees are increased by just

1%, the 1% increase costs a staggering $64,000, or 28% of the retirement savings.




                                                -8-
           Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 9 of 27



      27.      Accordingly, fiduciaries must engage in a rigorous process to control fees and

ensure that participants pay no more than a reasonable level of fees. This is particularly true for

billion-dollar plans like the Plan here, which has the bargaining power to obtain the highest level

of service and the lowest fees. The fees available to billion-dollar retirement plans are orders of

magnitude lower than the much higher retail fees available to small investors.

      28.      The entities that provide administrative services to retirement plans have a strong

incentive to maximize their fees. For each additional dollar in fees paid to a service provider,

participants’ retirement savings are directly reduced by the same amount, and participants lose the

potential for those lost assets to grow over the remainder of their careers. Accordingly,

participants’ retirement security is directly affected by the diligence used by plan fiduciaries to

control, negotiate, monitor, and reduce the plan’s fees.

      29.      Fiduciaries must be cognizant of service providers’ self-interest in maximizing

fees, and not simply accede to the providers’ demands, or agree to the providers’ administrative

fee quotes without negotiating or considering alternatives. In order to act in the exclusive interest

of participants and not in the service providers’ interest, fiduciaries must negotiate as if their own

money was at stake, instead of simply accepting fees demanded by these conflicted providers.

      B.       Administrative Services

      30.      The recordkeeper keeps track of the amount of each participant’s investments in

the various options in the plan, and typically provides each participant with a quarterly account

statement. The recordkeeper often maintains a plan website or call center that participants can

access to obtain information about the plan and to review their accounts. The recordkeeper may

also provide access to investment education materials or investment advice. These administrative

services are largely commodities, and the market for them is highly competitive.




                                                -9-
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 10 of 27



      31.      There are numerous recordkeepers in the marketplace who are capable of providing

a high level of service and who will vigorously compete to win a recordkeeping contract for a

jumbo retirement plan. These recordkeepers will readily respond to a request for proposal and will

tailor their bids based on the desired services (e.g., recordkeeping, website, call center, etc.). In

light of the commoditized nature of their services, recordkeepers primarily differentiate themselves

based on price, and will aggressively bid to offer the best price in an effort to win the business,

particularly for jumbo plans like the Plan here.

      32.      The ten largest United States recordkeepers based on total assets under management

are: 1. Fidelity ($1.6 trillion); 2. TIAA ($460 billion); 3. Empower Retirement ($443 billion); 4.

Vanguard ($437 billion); 5. Voya Financial, Inc. ($311 billion); 6. Wells Fargo ($228 billion); 7.

Bank of America Merrill Lynch ($220 billion); 8. Conduent ($195 billion); 9. Principal Financial

Group ($164 billion); 10. T. Rowe Price ($156 billion). All of these companies provide similar

services and primarily differentiate themselves based on price.

      33.      There are two primary methods for 403(b) plans to pay for administrative services:

“direct” payments from the plan participants’ accounts, and “indirect” payments by diverting

money from plan investments. Plans may use one method or the other exclusively, or may use a

combination of both direct and indirect payments.

      34.      In a typical direct payment arrangement, the plan contracts with a recordkeeper to

obtain administrative services in exchange for a flat annual fee based on the number of participants

for which the recordkeeper will be providing services, for example $50 per plan participant. Often,

these fixed-level fees are charged directly to each participant’s account on a quarterly basis. Mega

or jumbo plans possess tremendous economies of scale for purposes of recordkeeping and

administrative fees. A plan with 36,000 participants can obtain much lower fees on a per-




                                               - 10 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 11 of 27



participant basis than a plan with 3,600 participants.

       35.      A recordkeeper’s cost for providing services depends on the number of participants

in the plan, not the amount of assets in the plan or in an individual account. The cost of

recordkeeping a $300,000 account balance is the same as a $3,000 account. Accordingly, a flat

price based on the number of participants in the plan ensures that the amount of compensation is

tied to the actual services provided and does not grow based on matters that have nothing to do

with the services provided, such as an increase in plan assets due to market growth or greater plan

contributions by the employee.

       36.      For example, a plan with 30,000 participants and $3 billion in assets, may issue a

request for proposal to several recordkeepers and request that the respondents provide pricing

based on a flat rate for a 30,000 participant plan. If the winning recordkeeper offers to provide the

specified services at a flat rate of $30 per participant per year, the fiduciary would then contract

with the recordkeeper for the plan to pay a $900,000 direct annual fee (30,000 participants at $30

per participant). If the plan’s assets double and increase to $6 billion during the course of the

contract but the participant level stays constant, the recordkeeper’s compensation does not double

like the plan assets did.

       37.      Such a flat per-participant agreement does not necessarily mean, however, that

every participant in the plan must pay the same $30 fee from his or her account. The plan could

reasonably determine that assessing the same fee to all participants would discourage participants

with relatively small accounts from participating in the plan, and that, once the aggregate flat fee

for the plan has been determined, a proportional asset-based charge would be best. In that case,

the flat per-participant rate of $30 per participant multiplied by the number of participants would

simply be converted to an asset-based charge, such that every participant pays the same percentage




                                               - 11 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 12 of 27



of his or her account balance. For the $3 billion plan in this example, each participant would pay

a direct administrative fee of 0.03% of his or her account balance annually for recordkeeping

($900,000/$3,000,000,000 = 0.0003). If plan assets increase thereafter, the percentage would be

adjusted downward so that the plan is still paying the same $900,000 price that was negotiated at

the plan level for services to be provided to the plan.

      38.      Plan administrative service providers offer an array of other fee and expense

models. These often include some combination of dollar per head and asset based approaches.

Plaintiff here is specifically not alleging that the University was required to use a direct payment

arrangement. Rather, Plaintiff is simply providing details on how direct payment methods operate

and provides these details to partially illustrate (together with all the allegations herein) that the

fees Plan participants are paying to TIAA are excessive and unreasonable and that the University

should have done more to investigate, monitor, request, negotiate, and secure reasonable

administrative fees for Plan participants.

      39.      The University uses a method of paying for recordkeeping for the Plan through

indirect revenue sharing payments. Revenue sharing, while not a per se violation of ERISA, can

lead to massively excessive fees if not properly understood, monitored, and capped, as graphically

demonstrated by the University’s Plan.

      40.      In a revenue sharing arrangement, the amount of compensation for administrative

services to the plan is not based on the actual value of such services, instead compensation is based

on the amount of assets in the plan, or amount of assets in certain investments in the plan. For

example, the recordkeeper will agree to a fee that is tethered to the amount of assets in the Plan.

The fees will grow to unreasonable levels if plan assets grow while the number of participants, and

thus the services provided, does not increase at a similar rate. By way of example, if a recordkeeper




                                                - 12 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 13 of 27



contracts to receive annually one percent of assets in the plan as indirect compensation for a plan

with 100 participants and $300,000 in plan assets, the recordkeeper would receive $3,000 per year

in fees, or $30 on a per plan participant basis. But if the plan assets increased to $300,000,000 –

and the contract remains the same, the recordkeeper receives $3,000,000 per year in fees, or

$30,000 on a per plan participant basis. This would be an excessive fee by any measure.

      41.      If a fiduciary decides to use revenue sharing to pay for recordkeeping, it is required

that the fiduciary (1) determine and monitor the amount of the revenue sharing and any other

sources of compensation that the provider has received, (2) compare that amount to the price that

would be available on a flat per-participant basis, or other fee models that are being used in the

marketplace, and (3) ensure the plan pays a reasonable amount of fees.

      42.      As to the second critical element—determining the price that would be available on

a flat per-participant basis, or the price available under other fee models—making that assessment

for a jumbo plan requires soliciting bids from competing providers. In billion-dollar plans with

over 36,000 participants, such as the Plan here, benchmarking based on fee surveys alone is

inadequate. Recordkeeping fees for jumbo plans have declined significantly in recent years due to

increased technological efficiency, competition, and increased attention to fees by sponsors of

other plans such that fees that may have been reasonable at one time may have become excessive

based on current market conditions. Accordingly, the only way to determine the true market price

at a given time is to obtain competitive bids.

      43.      Prudent fiduciaries will also hire industry experts like Mercer Investment

Consulting, Aon Hewitt and Towers Watson to work on their behalf to obtain competitive bids

and negotiate fee agreements with recordkeepers. By way of example, California Institute of

Technology (CalTech) hired Mercer Investment Consulting to help it renegotiate the




                                                 - 13 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 14 of 27



administrative fees that its retirement plan paid TIAA. CalTech was subsequently successful in

securing $15 million in rebates from TIAA.

      44.      Industry experts recognize that it is especially important in a university 403(b)

context to scrutinize administrative fees and obtain competitive bids for administrative services.

Compared to benchmarking, “the RFP is a far better way to negotiate fee and service improvements

for higher education organizations.” See Fiduciary Plan Governance, LLC, Buying Power for

Higher Education Institutions: When you Have It and When You Don’t – Part 2. Indeed,

“[c]onducting periodic due diligence RFPs is a critical part of fulfilling the fiduciary duty.”

Western PA Healthcare News, 403(b) Retirement Plans: Why a Due Diligence Request for

Proposal. Engaging in in this RFP process “allows plan sponsors . . . to meet their fiduciary

obligations, provides leverage to renegotiate services and fees; enhances service and investment

opportunities and improves overall plan operation.” Id. Prudent fiduciaries of 403(b) plans should

obtain competitive bids for recordkeeping at regular intervals of approximately three years.

       C.      TIAA

      45.      TIAA is the recordkeeper for the Plan. It keeps track of the amount of each Plan

participant’s investments in the various options in the Plan, and provides each participant with a

quarterly account statement. TIAA maintains a website and call center that participants can access

to obtain information about the Plan and to review their accounts. TIAA also provides access to

investment education materials or investment advice. The services TIAA provides to the Plan are

virtually identical to the administrative services provided by all of the leading plan administrative

service providers.

      46.      In the early 1900s, teachers had no access to pensions that would help them live

comfortably in retirement. In 1918, the Carnegie Foundation donated $1 million to fund Teachers




                                               - 14 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 15 of 27



Insurance and Annuity Association, which is now known as TIAA. Its goal was to “ensure that

teachers could retire with dignity.”

      47.      For decades, TIAA grew by operating as a non-profit organization and providing

low cost retirement services to the nation’s universities, colleges, school districts, and other non-

profits. Because of its unique and noble heritage, TIAA’s reach grew to epic proportions. It today

has over $1 trillion dollars of assets under management.

      48.      TIAA still markets itself as a non-profit organization. That is misleading. In 1997,

Congress revoked TIAA’s non-profit status because TIAA was competing directly with for profit

companies. After TIAA’s non-profit status was revoked, TIAA began to impose steep fees on

clients and to push its clients into products that do not add value and may not be suitable but

generate higher fees for TIAA.

      49.      According to several recent articles in The New York Times, TIAA management

assigned outsized sales quotas to its representatives and directed them to meet the quotas by

playing up customers’ fears of not having enough money in retirement and other “pain points.”

See e.g., The Finger-Pointing at the Finance Firm TIAA, Morgenson, Gretchen, New York Times,

Oct. 21, 2017. These allegations are echoed in a whistle-blower complaint filed against the

company with the Securities and Exchange Commission. The whistle-blower complaint contends

that TIAA began conducting a fraudulent scheme in 2011 to convert “unsuspecting retirement plan

clients from low-fee, self-managed accounts to TIAA-CREF-managed accounts” that were more

costly. Advisers were pushed to sell proprietary mutual funds to clients as well, the complaint says.

The more complex a product, the more an employee earned selling it.

      50.      In October 2015, TIAA was sued by its own employees who alleged that TIAA

breached its fiduciary duty by charging excessive fees and expenses to participants in TIAA’s own




                                               - 15 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 16 of 27



employee retirement plan. TIAA settled the lawsuit with a $5 million payment and by reducing its

fees by an estimated $2 million per year.

      51.      TIAA’s executive pay packages also illustrate that TIAA is an aggressive profit-

seeking enterprise. The compensation of TIAA’s executives is greater than or close to the very

highest paid executives of some of Wall Street’s largest for-profit investment companies. In 2016,

TIAA’s CEO received $18.5 million in compensation. TIAA’s CEO received more compensation

than the CEO of J.P. Morgan Chase, Citigroup, MetLife, and Deutsche Bank among many others.

When expressed as a percentage of assets under management, TIAA’s CEO had the very highest

compensation rate among reporting investment companies. TIAA’s five highest-ranking “named

executive officers” earned a combined total of well over $40 million in compensation in 2015.

      52.      There is no shortage of high quality, low-cost alternatives to TIAA’s recordkeeping

services for 403(b) plans. Indeed, recently several universities acting as prudent 403(b) fiduciaries

have engaged in a comprehensive review of TIAA fees and made substantial changes to their

403(b) plans for the benefit of plan participants.

      53.      Loyola Marymount University (LMU) provides a 403(b) plan to its employees.

TIAA was a recordkeeper for LMU’s plan. LMU hired an independent third party consultant Aon

Hewitt, to issue a request for proposal to seven different 403(b) recordkeeping providers. After

receiving responses from the recordkeepers, LMU elected to terminate its recordkeeping contract

with TIAA and executed a recordkeeping contract with Diversified Investment Advisors. The

process resulted in a reduction of administrative fees totaling several million per year.

      54.      Pepperdine University retained an independent third party consultant to assist it in

issuing a request for proposal to different 403(b) recordkeeping providers. Following the

competitive bidding process, Pepperdine terminated its contract with TIAA and selected




                                                - 16 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 17 of 27



Diversified Investment Advisors to be its plan’s recordkeeper. A move that saved the plan millions

in administrative fees.

      55.      Purdue University hired an independent third party consultant, EnnisKnupp &

Associates (n/k/a AonHewitt), to assist its plan in evaluating fees and recordkeeping services.

Purdue issued a request for proposal to several recordkeepers. Following the bidding process,

Purdue terminated its recordkeeping contract with TIAA and selected Fidelity to be its

recordkeeper. Purdue told participants the change – along with others – would increase participant

balances by an estimated $3-4 million per year which is then compounded over time.

      56.      The University of Notre Dame also hired EnnisKnupp & Associates (n/k/a

AonHewitt), to assist its plan in evaluating fees and recordkeeping services. Notre Dame issued a

request for proposal to several recordkeepers. Following the bidding process, Notre Dame

terminated its recordkeeping contract with TIAA and selected Fidelity to be its recordkeeper.

      57.       Extensive industry literature shows that LMU, Pepperdine, Purdue, and Notre

Dame are not outliers, and that similarly situated fiduciaries who have comprehensively reviewed

their plans have been able to reduce administrative and recordkeeping fees, leading to enhanced

outcomes and retirement security for their plans’ participants.

            DEFENDANT BREACHED ITS FIDUCIARY DUTY OF PRUDENCE

      58.      Based on information currently available to Plaintiff regarding the Plan’s features,

the nature of the administrative services provided by TIAA, the Plan’s participant level, and the

recordkeeping market, benchmarking data indicates that a reasonable recordkeeping fee for the

Plan would have been a fixed amount between $1,500,000 and $1,900,000 per year (approximately

$50 per participant with an account balance). TIAA, however, is collecting roughly $10,000,000

per year (on average approximately $277 per participant).




                                               - 17 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 18 of 27



      59.      The excessive fees demonstrate that, in contrast to the 403(b) plan reviews

conducted by the universities described above, Defendant here failed to engage in a similar

analysis. Defendant did not retain a third party to review TIAA’s fees. Defendant did not act on

the information about fees in its possession as a prudent fiduciary would. Defendant did not seek

competitive bids for services TIAA provides. Had Defendant done so, Defendant would not have

allowed the Plan to continue to pay excessive administrative fees.

      60.      TIAA’s fees are so extraordinarily high that had Defendant employed a prudent

fiduciary process, Defendant could have reduced the fees without sacrificing any of the services

provided to the Plan. Defendant failed to balance fairly the costs of administering the Plan the

amount of fees the Plan paid to TIAA for services TIAA actually provided to the Plan. TIAA

provides virtually the same services as many other recordkeepers in the marketplace, TIAA’s

services do not justify the excessive fees paid by the Plan. TIAA’s fees are so disproportionately

large that they bears no reasonable relationship to the services rendered.

      61.      A reasonable fact-finder could easily infer from the extraordinary amount assessed

against the Plan for administration fees, the failure to adequately report TIAA’s compensation on

the Plan’s Annual Report on Form 5500, and the failure to adequately disclose to participants the

amount they were paying for administrative as required by 29 CFR § 2550.404a-5, that something

must be wrong with the process by which the Defendant protects the interests of its employees and

Plan participants. The principle of res ipsa loquitur applies. But there is substantial other evidence

of fiduciary process failure that corroborates that inference and principle of res ipsa loquitur.

      62.      In a 2012 TIAA publication entitled “Plan Sponsor Service and Fee Disclosure

Guide,” TIAA explained to its plan sponsor customers that recent changes to the annual reporting

obligations for employee benefit plans on Schedule C of Form 5500 required enhanced reporting




                                                - 18 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 19 of 27



to the help fiduciaries review plan fees and expenses as a part of their ongoing obligation to

monitor their service provider arrangements.”

      63.      But not a single annual report filed with the Department of Labor on Form 5500 for

the Plan includes any disclosures of the amount of indirect compensation being received by TIAA

from the Plan for administrative services. It is the responsibility of the University as Plan

Administrator to ensure that the annual disclosure is complete and accurate, and to report to the

Department of Labor any service provider who fails or refuses to provide compensation

information required to be include on the Form 5500. Yet, we know with certainty that TIAA is

receiving indirect compensation. The failure to report its compensation as required by law is not

only evidence of a major fiduciary process failure but also strongly suggests that the University is

failing to understand, monitor, and cap TIAA’s fees.

      64.      Beginning in 2012, final regulations issued by the DOL, 29 CFR 2550.408b-2(c),

required every retirement plan recordkeeper to disclose to each plan’s responsible plan fiduciary a

description of the services being provided by that recordkeeper and all of the direct and indirect

compensation the recordkeeper expected to receive in connection with those services (the “408b-

2 Disclosure”). On information and belief, the 408b-2 Disclosure provided by TIAA disclosed

only a portion of the fees TIAA expected to receive from the Plan.

      65.      Beginning in 2013, the Plan’s Form 5500s identify a “Plan Servicing Credit” in the

summary of Significant Account Policies. The Plan Servicing Credit is defined as a return of

administrative and recordkeeping fees charged by TIAA to participant accounts. The Plan

Servicing Credit is also troubling. It is tantamount to an admission that the amount TIAA receives

for administrative services is excessive. Although a certain amount of the excessive fee may be

returned to Plan participants, there is no disclosure in the Form 5500 concerning how the Plan




                                                - 19 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 20 of 27



Servicing Credit operates in practice. It appears Plan Servicing Credits are allocated based on

participant account balances, but if this is so, then money will be credited to participants who did

not actually pay fees. This is yet another glaring ERISA failure of prudence and process.

       66.      The participant loan program administered by TIAA operates in clear violation of

the prohibited transaction rules and the conditions for the regulatory exemption from those

prohibited transaction rules regarding plan loans, yet Defendant approved that plan loan program

apparently in complete ignorance of the legal requirements for such a program.

       67.      Ordinarily, when a plan participant borrows from a plan account, the participant is

deemed to have invested the account in the loan. The loan proceeds are derived from liquidating the

participant’s investment, and the loan effectively becomes a “fund” in which the participant has

invested. As an example, suppose that a participant has a current plan account balance of $60,000,

allocated equally among three different mutual funds, Fund A, Fund B, and Fund C, and the participant

elects to borrow $6,000 from the plan account. The plan trustee will liquidate $2,000 from each of the

three investment funds and will distribute the $6,000 to the participant in exchange for a note signed

by the participant, obligating the participant to repay the loan at a stated rate of interest.

       68.      The usual retirement plan loan process is exemplified by the description in the Charles

Schwab standardized loan policy for 401(k) plans:

        Each loan shall be an earmarked investment of the Participant’s account. Subject
        to any restrictions on withdrawals from a particular investment fund, loan proceeds
        will be taken pro rata from the investment fund or funds in which the Participant's
        account balance is invested. However, loan proceeds will not be taken from any
        portion of a Participant’s account that is invested in an employer stock investment
        fund. If a Participant has a Personal Choice Retirement Account®, such Participant
        will be contacted if funds in this account need to be liquidated to provide loan
        proceeds. As a loan is repaid, a Participant’s payments will be allocated to the
        investments he or she has selected under the Plan (or, where appropriate,
        investments that are considered the Plan’s default investment fund(s)) on a pro-rata
        basis, based on the investment election in effect on the date a payment is deposited
        to the Plan. (Emphasis added.)



                                                   - 20 -
           Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 21 of 27



         69.     Participant loans are governed by 29 CFR § 2550.408b-1, which requires, among

other conditions, that a loan must bear a reasonable rate of interest. As provided in 29 CFR §

2550.408b-1(e), “[a] loan will be considered to bear a reasonable rate of interest if such loan

provides the plan with a return commensurate with the interest rates charged by persons in the

business of lending money for loans which would be made under similar circumstances.”

(Emphasis added.)

         70.     Suppose at the time of the participant’s loan, the commercial rate for such loans is

6%. As a result of the loan transaction described in paragraph 83, the participant’s account will

have $18,000 invested in each of Fund A, Fund B, and Fund C, and will have $6,000 invested in

a loan paying 6% interest. All of the installment loan repayments will be credited to the

participant’s account, and the participant will earn the rate of interest charged on the loan.

         71.     Loans made through TIAA do not follow this loan process. Instead, TIAA’s loan

process requires a participant to borrow from TIAA’s general account rather than from the

participant’s own account. In order to obtain the proceeds to make such a loan, TIAA requires each

participant to transfer 110% of the amount of the loan from the participant’s chosen investments—

in our example, Fund A, Fund B, and Fund C—to one of TIAA’s general account products 2 as

collateral securing repayment of the loan. The general account product pays a fixed rate of interest,

currently guaranteed to be 3%.

         72.     All of the assets held in TIAA’s general account are owned by TIAA. Therefore,

TIAA also owns all the assets transferred to its general account to “collateralize” the participant

loan.

         73.     Because the participant loan is made from TIAA’s general account, the participant



2
    Effective in July 2016, loan “collateral” was invested in a TIAA Retirement Loan certificate.


                                                - 21 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 22 of 27



is obligated to repay the loan to TIAA’s general account, and the general account earns all of the

interest paid on the loan, in contrast to the loan programs for virtually every other retirement plan

in the country, where the loan is made from and repaid to the participant’s account and the

participant earns all of the interest paid on the loan.

       74.      Any reasonable plan fiduciary who had performed a diligent and prudent review of

this loan process should have been able to recognize the self-dealing inherent in the loan process

and the inconsistencies with laws and regulations governing plan loans.

       75.      These failures are not insignificant nor without consequence. The singular focus of

the regulatory efforts of the Employee Benefits Security Administration of the Department of

Labor for the past ten years or more has been the enhancement of reporting of plan financial

information because of its critical importance to participants, who bear the burden of investment

decisions, in effectively planning for their retirement. Even worse than ignorance on the part of

participants, however, is the prospect of ignorance on the part of Plan fiduciaries who are charged

with protecting the interests of those participants. The complete and utter failure to report TIAA’s

indirect compensation suggest that Defendant does not know what that compensation is.

       76.      Likewise, the approval of a loan process that is in clear violation of ERISA rules

and that is designed to generate profits for TIAA at the expense of Plan participants provides

demonstrable proof of Defendant’s flawed fiduciary decision-making process. Defendant’s failure

to comprehend and act on the compensation scheme created by TIAA for its participant loan

program simply cannot be explained.

                              ERISA’S FIDUCIARY STANDARDS

       77.      ERISA imposes strict fiduciary duties of care, prudence and diligence upon the

Defendant as fiduciary of the Plan. 29 U.S.C. §1104(a)(1), states, in relevant part, that:




                                                 - 22 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 23 of 27



       [A] fiduciary shall discharge his duties with respect to a plan solely in the interest of the
       participants and beneficiaries and –

               (A)       for the exclusive purpose of:

                         (i) providing benefits to participants and their beneficiaries; and
                         (ii) defraying reasonable expenses of administering the plan; [and]

               (B)       with the care, skill, prudence, and diligence under the circumstances
                         then prevailing that a prudent man acting in a like capacity and
                         familiar with such matters would use in the conduct of an enterprise
                         of like character and with like aims.

       78.     Under ERISA, fiduciaries that exercise any authority or control over plan assets,

including the selection of service providers, must act prudently and solely in the interest of

participants in the plan.

                                CLASS ACTION ALLEGATIONS

       79.     29 U.S.C. §1132(a)(2) authorizes any participant or beneficiary of the Plans to bring

an action individually on behalf of the Plans to enforce a breaching fiduciary’s liability to the plan

under 29 U.S.C. §1109(a).

       80.     Plaintiff seeks to certify this action as a class action on behalf of all participants and

beneficiaries of the Plan. Plaintiff seeks to certify, and to be appointed as a representative of, the

following class:

               All participants and beneficiaries with an active account balance in
               The University of Rochester Retirement Program for Employees
               from May 11, 2012, through the date of judgment.

       81.     This action meets the requirements of Rule 23 and is certifiable as a class action for

the following reasons:

               a.        The Class includes over 30,000 members and is so large that joinder of all

       its members is impracticable.

               b.        There are questions of law and fact common to this Class because the



                                                 - 23 -
  Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 24 of 27



Defendant owed fiduciary duties to the Plan and to all participants, and took the actions and

omissions alleged herein as to the Plan and not as to any individual participant. Thus,

common questions of law and fact include the following, without limitation: who is/are the

fiduciaries liable for the remedies provided by 29 U.S.C. §1109(a); whether the fiduciaries

of the Plan breached fiduciary duties to the Plan; what are the losses to the Plan resulting

from each breach of fiduciary duty; and what Plan-wide equitable and other relief the Court

should impose in light of a fiduciary duty breach.

        c.      Plaintiff’s claims are typical of the claims of the Class because Plaintiff was

a Plan participant during the time period at issue in this action and all participants in the

Plan were harmed by Defendant’s actions.

        d.      Plaintiff is an adequate representative of the Class because he was a

participant in the Plan during the Class period, he has no interests that are in conflict with

the Class, is committed to the vigorous representation of the Class, and has engaged

experienced and competent attorneys to represent the Class.

        e.      Prosecution of separate actions for these breaches of fiduciary duties by

individual participants and beneficiaries would create the risk of inconsistent or varying

adjudications that would establish incompatible standards of conduct for Defendant in

respect to the discharge of its fiduciary duties to the Plan and personal liability to the Plan

under 29 U.S.C. §1109(a), and adjudications by individual participants and beneficiaries

regarding these breaches of fiduciary duties and remedies for the Plan would, as a practical

matter, be dispositive of the interests of the participants and beneficiaries not parties to the

adjudication or would substantially impair or impede those participants’ and beneficiaries’

ability to protect their interests. Therefore, this action should be certified as a class action




                                         - 24 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 25 of 27



      under Rule 23(b)(1)(A) or (B).

      82.      A class action is the superior method for the fair and efficient adjudication of this

controversy because joinder of all participants and beneficiaries is impracticable, the losses

suffered by individual participants and beneficiaries may be small and impracticable for individual

members to enforce their rights through individual actions, and the common questions of law and

fact predominate over individual questions. Given the nature of the allegations, no class member

has an interest in individually controlling the prosecution of this matter, and Plaintiff is aware of

no difficulties likely to be encountered in the management of this matter as a class action.

Alternatively, then, this action may be certified as a class under Rule 23(b)(3) if it is not certified

under Rule 23(b)(1)(A) or (B).

      83.      Plaintiff’s counsel will fairly and adequately represent the interests of the Class and

is best able to represent the interests of the Class under Rule 23(g).

                                             COUNT I

                                ERISA Breach of Duty of Prudence
                  (Excessive and Unreasonable Administrative Fees and Expenses)

      84.      Plaintiff restates and incorporates the allegations contained in the preceding

paragraphs.

      85.      ERISA § 404(a)(1) imposes twin duties of prudence and loyalty on fiduciaries of

retirement plans. The duty of prudence, codified in ERISA § 404(a)(1)(B), requires a pension plan

fiduciary to act “with the care, skill, prudence, and diligence under the circumstances then

prevailing that a prudent man acting in a like capacity and familiar with such matters would use in

the conduct of an enterprise of a like character and with like aims.” ERISA § 404(a)(1)(B).

      86.      Defendant breached its duty of prudence with regard to TIAA’s excessive fees. The

breach arose from the following actions and inactions: (1) failing to solicit competitive bids from



                                                - 25 -
         Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 26 of 27



other recordkeepers; (2) failing to monitor and control administrative fees by not (a) monitoring

the amount of TIAA’s fees; (b) determining the competitiveness/reasonability of the fees; or (c)

leveraging the Plan’s size to reduce fees.

      87.        Defendant failed to engage in a prudent process for the evaluation and monitoring

of amounts being charged for administrative expense, allowing the Plans to be charged an asset-

based fee for recordkeeping calculated in a manner that was completely inconsistent with a

reasonable fee for the service and was grossly excessive for the service being provided.

      88.        Defendant is personally liable under 29 U.S.C. §1109(a) to make good to the Plan

any losses to the Plans resulting from the breaches of fiduciary duties alleged in this Count and is

subject to other equitable or remedial relief as appropriate.

                                     PRAYER FOR RELIEF

       For these reasons, Plaintiff, on behalf of the Plan and all Plan participants, respectfully

requests that the Court:

       a.        Find Defendant has breached its fiduciary duties as described above;

       b.        Find Defendant is personally liable to make good to the Plan all losses to the Plan

resulting from each breach of fiduciary duty, and to otherwise restore the Plan to the position it

would have occupied but for the breaches of fiduciary duty;

       c.        Determine the method by which the Plan’s losses under 29 U.S.C. §1109(a) should

be calculated;

       d.        Order Defendant to provide all accountings necessary to determine the amounts

Defendant must make good to the Plan under §1109(a);

       e.        Certify the Class, appoint Plaintiff as a class representative, and appoint Carlson,

Lynch Sweet Kilpela & Carpenter LLP as Class Counsel;

       f.        Award to the Plaintiff and the Class their attorneys’ fees and costs under 29 U.S.C.


                                                - 26 -
        Case 6:18-cv-06357-MAT Document 1 Filed 05/11/18 Page 27 of 27



§1132(g)(1) and the common fund doctrine;

      g.      Order the payment of interest to the extent it is allowed by law; and

      h.      Grant other equitable or remedial relief as the Court deems appropriate.

                                  JURY TRIAL DEMANDED

      Plaintiff requests a trial by jury on all claims so triable.


      Dated: May 11, 2018                         By:/s/ Edwin J. Kilpela, Jr.__
                                                     Benjamin J. Sweet
                                                     Edwin J. Kilpela, Jr.
                                                     Kevin Abramowicz
                                                     CARLSON LYNCH SWEET
                                                     KILPELA & CARPENTER LLP
                                                     1133 Penn Ave., 5th Floor
                                                     Pittsburgh, Pennsylvania 15222
                                                     Telephone: (412) 322-9243
                                                     Facsimile: (412) 231-0246
                                                     bsweet@carlsonlynch.com
                                                     ekilpela@carlsonlynch.com
                                                     kabramowicz@carlsonlynch.com

                                                        Attorneys for Plaintiff and the Class




                                               - 27 -
